                   UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                       DOCKET NO. 3:08CR97

           V.                                               ORDER

KELVIN GERALD MOSS
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  THIS MATTER IS BEFORE THE COURT on United States Attorney’s Motion, (Doc.
No. 122 ) Motion to Seal Exhibit I to Response Motion Seeking Compassionate Release.

   IT IS ORDERED, that United States Attorney’s Motion (Doc. No.122 ) is GRANTED.



                                  Signed: October 6, 2021




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